Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 1 of 16 Pageid#:
                                   3078                                  EXHIBIT
                                                                                                           6
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA

                                        )
 BABY DOE, et al.,                      )
                                        )               Civil Action No. 3:22-cv-00049-NKM-JCH
                            Plaintiffs, )
                                        )
                   v.                   )
                                        )
 JOSHUA MAST, et al.,                   )
                                        )
                            Defendants. )
 _______________________________________)

                      NON-PARTY PIPE HITTER FOUNDATION INC.’S
                      OBJECTIONS AND RESPONSES TO SUBPOENA

        Non-Party Pipe Hitter Foundation, Inc. (“Pipe Hitter”), by and through its attorneys, and

 pursuant to Federal Rules of Civil Procedure 26 and 45 and the Local Rules of this Court, responds

 and objects to Plaintiffs’ Subpoena to Testify at a Deposition in a Civil Action (“Subpoena”),

 insofar as it requests the production of documents. Pursuant to an agreement between Pipe Hitter

 and counsel for Plaintiffs, Pipe Hitter is not yet serving its objections to the Subpoena insofar as it

 requests testimony, and reserves the right to do so at a future point.

                                       Preliminary Statement

        1.      Pipe Hitter’s investigation and development of all facts and circumstances relating

 to this action are ongoing. These objections and responses are made without prejudice to, and are

 not a waiver of, Pipe Hitter’s right to rely on other facts or documents at any hearing or other

 proceeding in this matter.

        2.      By providing these objections and responses, Pipe Hitter does not waive—and

 hereby expressly reserves—its right to assert any and all objections as to the admissibility into




                                                   1
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 2 of 16 Pageid#:
                                   3079



 evidence of its responses (or any underlying document) in this action or any other proceeding, on

 any and all grounds, including but not limited to competency, relevancy, materiality, and privilege.

        3.      A response to a document request stating that responsive documents will be

 produced shall not be construed as a contention or admission that:

                a.      any such responsive documents actually exist;

                b.      Pipe Hitter performed any of the acts described in the document request,

 definitions, and/or instructions applicable to the document request; or

                c.      Pipe Hitter acquiesces in the characterization of the conduct or activities

 contained in the document request, definitions, and/or instructions.

        4.      Pipe Hitter incorporates each of its Objections to Definitions, Objections to

 Instructions, and General Objections into each of its specific responses. A specific response may

 repeat any of those objections for emphasis or some other reason; the failure to include any of

 those objections in a particular specific response does not waive such objection with regard to that

 request.

        5.      Pipe Hitter reserves the right to amend, clarify, revise, correct, or supplement its

 objections or responses.

                                     Objections to Definitions

        1.      Pipe Hitter objects to Paragraph 1 in the Definitions section of Schedule A to the

 Subpoena, on the grounds Pipe Hitter, as a third-party non-litigant, is not subject to Fed. R. Civ.

 P. 34(a)-(b). Pipe Hitter further objects on the grounds Fed. R. Civ. P. 34(a)-(b) do not appear to

 contain any definitions.

        2.      Pipe Hitter objects to Paragraph 2 in the Definitions section of Schedule A to the

 extent it defines “You” and “Your” to include each person “acting or purporting to act on the Pipe



                                                  2
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 3 of 16 Pageid#:
                                   3080



 Hitter Foundation’s behalf, on the grounds the phrases “acted on its behalf” or “purported to act

 on its behalf” are vague, ambiguous, and reasonably susceptible to multiple interpretations. Pipe

 Hitter further objects to the extent it does not know, and cannot reasonably determine, every person

 who either acted on its behalf or purported to act on its behalf. Pursuant to Fed. R. Civ. P.

 45(a)(1)(A)(iii), Pipe Hitter will produce responsive materials that are in Pipe Hitter’s possession,

 custody, or control, as those terms have been construed in binding caselaw, subject to its other

 objections.

        3.      Pipe Hitter objects to Paragraph 4 in the Definitions section of Schedule A to the

 extent it defines “Communication” as including a “personal meeting,” “telephone,” or

 “teleconference” and would require Pipe Hitter to generate documents that do not exist.

        4.      Pipe Hitter objects to Paragraph 5 in the Definitions section of Schedule A to the

 extent it defines “Control” as including “control . . . to the extent You, Your attorneys, agents, or

 Representatives have a right to demand or compel production” of materials from some other source

 as extending beyond the scope of Pipe Hitter’s obligations under the Federal Rules of Civil

 Procedure, the local rules of this Court, and binding precedent. Pipe Hitter further objects to the

 inclusion of the term “Representative” as vague, ambiguous, reasonably susceptible to multiple

 interpretations, and beyond the scope of Pipe Hitter’s obligations under the Federal Rules of Civil

 Procedure, the local rules of this Court, and binding precedent, particularly to the extent Plaintiffs

 distinguish that term from “agent.” Pipe Hitter further objects to this request to the extent it

 purports to require Pipe Hitter to seek documents from Signal app, the manufacturer of the Signal

 app, or any other entities involved with the operation of the Signal app, on the grounds they do not

 retain any communications transmitted through that app.               Pursuant to      Fed. R. Civ.

 P. 45(a)(1)(A)(iii), Pipe Hitter will produce responsive materials that are in the possession, custody,



                                                   3
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 4 of 16 Pageid#:
                                   3081



 or control, as those terms have been construed in binding caselaw, of Pipe Hitter or its current

 officers, employees, principals, or official, subject to its other objections. To the extent a

 responsive document is in the possession, custody, or control of one of Pipe Fitter’s other current

 agents, attorneys, consultants, or other third-party independent contractors, Pipe Fitter shall make

 a reasonable, good-faith request for the production of such documents, subject to its other

 objections.

        5.      Pipe Hitter objects to Paragraph 12 in the Definitions section of Schedule A to the

 extent it defines the terms “referring or relating to,” “concern or concerning,” and “comprise” as

 including materials that “directly, indirectly, or in any other way support, negate, . . . affect . . .

 and/or are otherwise connected with the subject matter about which a Request is being

 propounded” on the grounds these aspects of the definition are vague, overbroad, ambiguous,

 unduly burdensome, could reasonably be construed to encompass a potentially limitless range of

 information, and not reasonably tailored to lead to the discovery of relevant or admissible

 information.

                                     Objections to Instructions

        1.      Pipe Hitter objects to Instruction 2 to the extent it purports to impose obligations

 that exceed Pipe Hitter’s duties under Federal Rules of Civil Procedure 26 and 45, the Local Rules

 of this Court, and binding precedent. Pipe Hitter further objects to this Instruction to the extent it

 requires Pipe Hitter to use more than a reasonable, good-faith effort to obtain information from the

 specified third parties that Pipe Hitter does not have a legal right to obtain from them. Pipe Hitter

 further objects to the inclusion of “assignors” as vague, unclear in this context, and the substance

 of this aspect of the instruction cannot reasonably be discerned.




                                                   4
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 5 of 16 Pageid#:
                                   3082



        2.       Pipe Hitter objects to Instruction 3 to the extent it declares Pipe Hitter’s “obligation

 to supplement and/or amend [its] Responses is continuing in character,” and purports to instruct

 Pipe Hitter to “file supplemental responses should circumstances change” or Pipe Hitter

 “acquire[s] new or different information at any time during the pendency of this case.” Fed. R.

 Civ. P. 26(e)(1) sets forth the scope of a party’s obligation to supplement or correct its discovery

 disclosures or responses, and Pipe Hitter will adhere to those requirements.

        3.      Pipe Hitter objects to Instruction 4 to the extent it purports to require Pipe Hitter to

 disclose information that is not responsive to a discovery request, and neither relevant to this case

 nor reasonably calculated to lead to the discovery of relevant and admissible information. Pipe

 Hitter will redact portions of documents, including but not limited to internal reports concerning

 Pipe Hitter’s operations with regard to other parties and cases, which are unrelated to Plaintiffs’

 requests or the matters at issue in this case. Pipe Hitter further responds that documents that are

 stapled, clipped, or otherwise fastened together will be produced in electronic form with the pages

 in sequential order.

        4.      Pipe Hitter objects to Instruction 6 to the extent it purports to require Pipe Hitter to

 produce hundreds, thousands, or more copies of the same e-mail sent to a distribution list of

 followers, contributors, potential contributors, or other members of the public where the only

 difference is the name or e-mail address of the recipient on the grounds such request is overbroad,

 unduly burdensome, and not reasonably calculated to lead to the discovery of admissible or

 relevant information.

        5.      Pipe Hitter objects to Instruction 7 to the extent it purports to require Pipe Hitter to

 locate, obtain, and produce metadata, or to produce documents in anything other than PDF form,




                                                   5
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 6 of 16 Pageid#:
                                   3083



 on the grounds it is oppressive, unduly burdensome, expensive, and not reasonably calculated to

 lead to the discovery of admissible or relevant information.

        6.      Pipe Hitter objects to Instruction 9 to the extent it purports to impose a procedure

 for asserting privileges and invoking work-product doctrine that differs from the procedure set

 forth in Fed. R. Civ. P. 26(b)(5)(A). Pipe Hitter will comply with the procedure set forth in Rule

 26(b)(5)(A), the Local Rules of this Court, and binding precedent.

                                         General Objections

        1.      Pipe Hitter objects to the subpoena on the grounds the district court lacks

 jurisdiction over this case due to the absence of complete diversity under 28 U.S.C. § 1332.

                a.       If Plaintiff Baby Doe is a U.S. citizen, the court lacks jurisdiction on the

 grounds at least one plaintiff and defendant are citizens of the same state.

                b.       If Plaintiff Baby Doe is a foreign citizen who has been lawfully admitted

 for permanent residence to the United States, the Court lacks jurisdiction under 28 U.S.C. §

 1332(a)(1) and (a)(3) since the case is not between citizens of the United States, and under 28

 U.S.C. § 1332(a)(2) since Baby Doe would be treated as a citizen of the same state as her parents

 under that provision.

                c.       If Plaintiff Baby Doe is neither a U.S. citizen nor has been lawfully admitted

 for permanent residence, the court lacks jurisdiction under 28 U.S.C. § 1332(a)(1) and (a)(3) since

 the case is not between citizens of the United States, and under 28 U.S.C. § 1332(a)(2) on the

 grounds the suit is not between citizens of a foreign state and citizens of the United States, since

 one of the defendants, Ahmad Osmani, is a citizen of Afghanistan (and admission as a lawful

 permanent resident does not affect jurisdiction under § 1332(a)(2)).




                                                   6
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 7 of 16 Pageid#:
                                   3084



          2.    In addition, complete diversity is lacking in this case since two of the nominal

 defendants are federal officials sued in their official capacities. A reference to a defendant federal

 official in his or her official capacity is deemed to be a reference to the United States itself. The

 diversity statute, 28 U.S.C. § 1332 does not authorize lawsuits in which the federal government is

 a defendant, “nominal” or otherwise.

          3.    Pipe Hitter objects to this subpoena on the grounds this Court lacks subject-matter

 jurisdiction over this case pursuant to the domestic relations exception to federal jurisdiction.

          4.    Pipe Hitter objects to this subpoena as calling for information that violates both its

 rights under the First Amendment as well as its newsgathering privilege.

          5.    Pipe Hitter objects to this subpoena to the extent it seeks documents or

 communications generated after the date of the subpoena’s issuance, concerning and generated in

 connection with Pipe Hitter’s response to the subpoena.

          6.    Pipe Hitter objects to this subpoena to the extent it requires production of

 confidential, proprietary, or trade secret information, particularly in the absence of a protective

 order.

          7.    Pipe Hitter objects to this subpoena to the extent it requires production of

 documents or communications Plaintiffs:

                a.      have already received from some source;

                b.      can obtain with less expense or inconvenience from some other source,

 including but not limited to Plaintiffs’ own files, documents or information in Plaintiffs’

 possession, or documents or information previously produced to Plaintiffs; or

                c.      can obtain through discovery from a party litigant to the case,




                                                   7
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 8 of 16 Pageid#:
                                   3085



 on the grounds such requests would be oppressive, unduly burdensome, and unnecessarily

 expensive.

        8.      Pipe Hitter objects to each instruction, definition, and document request to the

 extent that it seeks documents protected from disclosure by the attorney-client privilege,

 deliberative process privilege, attorney work product doctrine, or any other applicable privilege.

 Any disclosure of such information by Pipe Hitter is inadvertent and shall not constitute a waiver

 of any privilege.

        9.      Pipe Hitter objects to each instruction, definition, and document request to the

 extent that it is overly broad, unduly burdensome, not reasonably calculated to lead to the discovery

 of admissible evidence, or otherwise purposes to impose any requirement or discovery obligation

 greater than or different from those under the Federal Rules of Civil Procedure and the applicable

 Rules and Orders of the Court.

                                         Specific Responses

 Request #1

        All Documents and Communications between YOU and any member of the Mast family,
 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and
 Stephanie Mast, referring or relating to fundraising for any Defendants in Doe v. Mast, et al, 3:22-
 cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00 (Circuit
 Court of Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit Court of
 Fluvanna County), or their families.

        Response to Request #1: In addition to the foregoing Objections to Definitions,

 Objections to Instructions, and General Objections, Pipe Hitter objects to this request insofar as it

 seeks production of documents and communications involving “any member of the Mast family”

 beyond the specified individuals, as the term “family” is undefined and Pipe Hitter does not

 reasonably know whether any other individuals happen to be related in any manner to any of the

 identified Masts. Pipe Hitter further objects to this request insofar as it seeks production of

                                                  8
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 9 of 16 Pageid#:
                                   3086



 documents and communications relating to fundraising for any “families” of defendants in various

 specified cases, on the grounds Pipe Hitter does not reasonably know the identities of either the

 defendants in those cases or all of their family members. Pipe Hitter further objects to this request

 insofar as it may encompass large-scale, bulk, or mass communications Pipe Hitter sent to general

 distribution lists comprised of supporters, potential donors, and/or members of the public who

 provided contact information to Pipe Hitter in order to receive updates and other communications,

 which may include one or more of the specified individuals or other members of the Mast family,

 on the grounds attempting to identify any such people as members of one or more distribution lists

 would be unduly burdensome, expensive, and not reasonably calculated to lead to the discovery of

 relevant or admissible information. Pipe Hitter further objects to this request to the extent it seeks

 confidential information shielded by the newsgathering or other First Amendment privilege.

        Pipe Hitter responds it is unfamiliar with A.A. and F.A. v. J.M. and S.M., No. CL22000186-

 00 (Circuit Court of Fluvanna County), and In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County), has never engaged in fundraising specifically with regard to those

 cases, and has no responsive communications concerning them. Pipe Hitter further responds that,

 to the best of its knowledge based on reasonable investigation, it has never engaged in

 communications with Richard Mast, Caleb Mast, or Stephanie Mast. Subject to and without

 waiving the foregoing Objections to Definitions, Objections to Instructions, General Objections,

 and specific objections to this request, Pipe Hitter responds that it will produce non-privileged

 documents and communications in its possession, custody, or control, if any, dated between the

 beginning of the Time Period and the issuance of the Subpoena, between Pipe Hitter and Jonathan

 Mast and/or Joshua Mast concerning fundraising in support of the defense in Doe v. Mast, et al,




                                                   9
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 10 of 16 Pageid#:
                                    3087



 3:22-cv-49-NKM-JCH (W.D. VA). All responsive documents are hereby included within Pipe

 Hitter’s document production.

 Request #2

        All Documents and Communications between YOU and any news or media outlets,
 including, but not limited to One America News Network, referring or relating to the facts
 underlying Doe v. Mast, et al, 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M.,
 Case No. CL22000186-00 (Circuit Court of Fluvanna County), or In the Matter of Baby Lilly,
 Case No. 19CA12 (Circuit Court of Fluvanna County).

        Response to Request #2: In addition to the foregoing Objections to Definitions,

 Objections to Instructions, and General Objections, Pipe Hitter objects to this request insofar as

 the term “news or media outlets” is vague and ambiguous, particularly insofar as such terms may

 or may not apply to individuals who post information on social media, blogs, or websites. Pipe

 Hitter further objects to this request insofar as it may encompass material that a news or media

 outlet obtained from Pipe Hitter’s website or that Pipe Hitter otherwise made available to the

 general public, on the grounds Pipe Hitter has no practicable way of identifying such information.

 Pipe Hitter further objects to this request insofar as it seeks documents and communications

 referring or relating to the facts underlying A.A. and F.A. v. J.M. and S.M., No. CL22000186-00

 (Circuit Court of Fluvanna County) or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County), on the grounds it is unduly burdensome since Pipe Hitter is unfamiliar

 with the facts of those cases. Pipe Hitter further objects to this request insofar as it may encompass

 large-scale, bulk, or mass communications Pipe Hitter sent to general distribution lists comprised

 of supporters, potential donors, and/or members of the public who provided contact information

 to Pipe Hitter in order to receive updates and other communications, which may include one or

 more reporters or other agents of a news or media outlet, on the grounds attempting to identify any

 such people as members of one or more distribution lists would be unduly burdensome, expensive,



                                                  10
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 11 of 16 Pageid#:
                                    3088



 and not reasonably calculated to lead to the discovery of relevant or admissible information. Pipe

 Hitter further objects to this request to the extent it seeks confidential information shielded by the

 newsgathering or other First Amendment privilege.

        Pipe Hitter construes this request to refer only to communications that Pipe Hitter

 intentionally made to one or more known reporters or other agents of a news or media outlet.

 Subject to and without waiving the foregoing Objections to Definitions, Objections to Instructions,

 General Objections, and specific objections to this request, Pipe Hitter responds that the only

 responsive documents of which it is aware following a reasonable search were generated and were

 in the possession of its public relations company, Vought Strategies. All responsive documents are

 hereby included within Pipe Hitter’s document production.

 Request #3

        All Documents and Communications between YOU and any member of the Mast family,
 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and
 Stephanie Mast, or any news or media outlets, including, but not limited to One America News
 Network, referring or relating to efforts by Joshua and Stephanie Mast to adopt a child from
 Afghanistan.

        Response to Request #3: In addition to the foregoing Objections to Definitions,

 Objections to Instructions, and General Objections, Pipe Hitter objects to this request as

 duplicative to the extent it requires production of documents that Pipe Hitter will produce in

 response to previous requests. Pipe Hitter further objects to this request insofar as it seeks

 production of documents and communications with “any member of the Mast family” beyond the

 specified individuals, as the term “family” is undefined and Pipe Hitter does not reasonably know

 whether any other individuals happen to be related in any manner to any of the identified Masts.

 Pipe Hitter further objects to this request insofar as the term “news or media outlets” is vague and

 ambiguous, particularly insofar as such terms may or may not apply to individuals who post



                                                  11
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 12 of 16 Pageid#:
                                    3089



 information on social media, blogs, or websites. Pipe Hitter further objects to this request insofar

 as it may encompass material that any of the identified individuals, any other member of the Mast

 family, or a news or media outlet obtained from Pipe Hitter’s website or that Pipe Hitter otherwise

 made available to the general public, on the grounds Pipe Hitter has no practicable way of

 identifying such information.     Pipe Hitter further objects to this request insofar as it may

 encompass large-scale, bulk, or mass communications Pipe Hitter sent to general distribution lists

 comprised of supporters, potential donors, and/or members of the public who provided contact

 information to Pipe Hitter in order to receive updates and other communications, which may

 include one or more of the specified individuals, other members of the Mast family, and/or one or

 more reporters or other agents of a news or media outlet, on the grounds attempting to identify any

 such people as members of one or more distribution lists would be unduly burdensome, expensive,

 and not reasonably calculated to lead to the discovery of relevant or admissible information. Pipe

 Hitter further objects to this request to the extent it seeks confidential information shielded by the

 newsgathering or other First Amendment privilege.

        Pipe Hitter responds that, to the best of its knowledge based on reasonable investigation, it

 has never engaged in communications with Richard Mast, Caleb Mast, or Stephanie Mast. Subject

 to and without waiving the foregoing Objections to Definitions, Objections to Instructions, General

 Objections, and specific objections to this request, Pipe Hitter responds that it will produce non-

 privileged documents and communications in its possession, custody, or control that it has not

 produced to Plaintiffs in response to previous requests, if any, dated between the beginning of the

 Time Period and the issuance of the Subpoena, between Pipe Hitter and Jonathan Mast and/or

 Joshua Mast discussing efforts by Joshua and Stephanie Mast to adopt a child from Afghanistan.

 Pipe Hitter further responds that it will also produce documents and communications in its



                                                  12
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 13 of 16 Pageid#:
                                    3090



 possession, custody, or control that it has not produced in response to previous requests, if any,

 that Pipe Hitter intentionally made to one or more known reporters or other agents of a news or

 media outlet which discuss efforts by Joshua and Stephanie Mast to adopt a child from

 Afghanistan. All responsive documents are hereby included within Pipe Hitter’s accompanying

 production.

 Request #4

        All Documents and Communications referring or relating to YOUR receipt of information
 and photographs identifying Baby Doe in whole or in part.

        Response to Request #4: In addition to the foregoing Objections to Definitions, Objections

 to Instructions, and General Objections, Pipe Hitter objects to this request as duplicative to the

 extent it requires production of documents that Pipe Hitter will produce in response to previous

 requests. Pipe Hitter further objects to this request to the extent it seeks confidential information

 shielded by the newsgathering or other First Amendment privilege. Pipe Hitter further objects to

 this request to the extent it seeks information Pipe Hitter obtained through publicly available media

 sources such as newspapers or news websites that are equally accessible to both Plaintiffs and Pipe

 Hitter. Pipe Hitter further objects to this request to the extent “information . . . identifying Baby

 Doe . . . in part” is vague, ambiguous, and the substance of this aspect of the instruction cannot

 reasonably be discerned. Pipe Hitter further objects to this request insofar as it seeks information

 identifying Baby Doe on the grounds a response would be expensive and unduly burdensome as

 to the extent a potentially limitless range of documents might be construed as somehow

 “identifying Baby Doe,” and the request provides no criteria by which to determine whether

 particular information is sufficient to “identify[]” her. Pipe Hitter further categorically objects to

 this request to the extent it seeks information protected by the attorney-client or work-product

 privilege, and further objects to any requirement to produce a privilege log on the grounds it would

                                                  13
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 14 of 16 Pageid#:
                                    3091



 be unduly burdensome, expensive, and not reasonably calculated to lead to the discovery of

 admissible or relevant information.

        Subject to and without waiving the foregoing Objections to Definitions, Objections to

 Instructions, General Objections, and specific objections to this request, Pipe Hitter responds that

 it will produce non-privileged documents and communications in its possession, custody, or

 control that it has not produced to Plaintiffs in response to previous requests, if any, dated between

 the beginning of the Time Period and the issuance of the Subpoena, concerning Pipe Hitter’s

 receipt of information and photographs identifying Baby Doe. All responsive documents are

 hereby included within Pipe Hitter’s document production.

 Request #5

        All Documents and Communications regarding the story titled “PHF Story The Mast
 Family,” available at https://pipehitterfoundation.org/who-we-support/the-mast-family/.

        Response to Request #5: In addition to the foregoing Objections to Definitions, Objections

 to Instructions, and General Objections, Pipe Hitter objects to this request as duplicative to the

 extent it requires production of documents that Pipe Hitter will produce in response to previous

 requests. Pipe Hitter further objects to this request to the extent it seeks confidential information

 shielded by the newsgathering or other First Amendment privilege.               Pipe Hitter further

 categorically objects to this request to the extent it seeks information protected by the attorney-

 client or work-product privilege, and further objects to any requirement to produce a privilege log

 on the grounds it would be unduly burdensome, expensive, and not reasonably calculated to lead

 to the discovery of admissible or relevant information. Pipe Hitter further objects to this request

 insofar as documents and communications “regarding” a particular story is vague, ambiguous, and

 reasonably susceptible to multiple interpretations; depending on the interpretation, the request is




                                                  14
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 15 of 16 Pageid#:
                                    3092



 also overbroad, vexatious, and not reasonably tailored to lead to the discovery of relevant or

 admissible information.

        Subject to and without waiving the foregoing Objections to Definitions, Objections to

 Instructions, General Objections, and specific objections to this request, Pipe Hitter responds that

 it will produce non-privileged documents and communications in its possession, custody, or

 control that it has not produced to Plaintiffs in response to previous requests, if any, dated between

 the beginning of the Time Period and the issuance of the Subpoena, concerning the drafting or

 publication of the specified story.   All responsive documents are hereby included within Pipe

 Hitter’s document production.


        Dated this 9th day of July 2023.


                                                               Respectfully submitted,

                                                               /s/ Caitlin P. Contestable
                                                               Caitlin P. Contestable, Esq.*
                                                               NC Bar # 59096
                                                               Chalmers and Adams PLLC
                                                               ccontestable@chalmersadams.com
                                                               204 N. Person St.
                                                               Raleigh, NC 27601
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                                                               Fax: (202) 478-0750

                                                               Counsel for Non-Party Pipe
                                                               Hitter Foundation, Inc.

                                                               *Not barred in Virginia and not a
                                                               member of the U.S. District Court for
                                                               the Western District of Virginia bar.




                                                  15
Case 3:22-cv-00049-NKM-JCH Document 257-6 Filed 07/18/23 Page 16 of 16 Pageid#:
                                    3093



                                      CERTIFICATE OF SERVICE

        I, Caitlin P. Contestable, hereby certify that on this 9th day of July 2023, I did cause a true

 and complete copy of the foregoing Non-Party Pipe Hitter Foundation Inc.’s Objections and

 Responses to Subpoena to be served via electronic mail on

        Kevin Elliker
        kelliker@HuntonAK.com


                                                               /s/ Caitlin P. Contestable
                                                               Caitlin P. Contestable, Esq.*
                                                               Counsel for Non-Party Pipe
                                                               Hitter Foundation, Inc.

                                                               *Not barred in Virginia and not a
                                                               member of the U.S. District Court for
                                                               the Western District of Virginia bar.




                                                  16
